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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF VERMONT

GARRETT SITTS, et al.,

     Plaintiffs,                          Civil Action No. 2:16-cv-00287-cr

v.

DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

     Defendants.



         DEFENDANTS DAIRY FARMERS OF AMERICA, INC.
 AND DAIRY MARKETING SERVICES, LLC’S MOTION IN LIMINE NO. 2 TO
PRECLUDE EVIDENCE OF ACTIVITIES, EVENTS, AND COMMUNICATIONS
            THAT OCCURRED PRIOR TO OCTOBER 2005
             AND MEMORANDUM OF LAW IN SUPPORT

                   EVIDENTIARY HEARING REQUESTED
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        Defendants Dairy Farmers of America, Inc. and Dairy Marketing Services, LLC,

(collectively, “DFA”) respectfully submit this motion in limine under Federal Rules of Evidence

401, 402, and 403, to preclude all evidence of, and argument regarding, activities, events, and

communications that occurred prior to October 2005.1              As plaintiffs acknowledge in their

complaint, plaintiffs were purported class members of litigation filed in October 2009, meaning

that, at the earliest, only conduct dating back to October 2005 can be challenged by plaintiffs.2 See

Revised First Amended Complaint, ECF No. 29 (hereinafter “RFAC”) ¶¶ 1-2, 235-36; see also 15

U.S.C. § 15b (Clayton Act has four-year statute of limitations); Zenith Radio Corp. v. Hazeltine

Research, 401 U.S. 321, 338 (1971).

        It is DFA’s understanding that plaintiffs intend to introduce substantial evidence of events

that occurred prior to October of 2005. See, e.g., RFAC at ¶¶ 101-136. Such evidence is outside

the statute of limitations applicable to plaintiffs’ claims and is therefore irrelevant. Even if such

evidence were relevant, its probative value would be outweighed by the dangers of confusion,

unfair prejudice, and misleading the jury. See Fed. R. Evid. 403. Accordingly, the Court should

preclude plaintiffs from introducing evidence of activities, events, and communications that

occurred prior to October 2005.

I.      EVIDENCE OF ACTIVITIES, EVENTS, AND COMMUNICATIONS THAT
        OCCURRED BEFORE OCTOBER 2005 SHOULD BE EXCLUDED BECAUSE IT
        IS NOT RELEVANT TO PLAINTIFFS’ CLAIMS

        Conduct that occurred before October 2005 is outside the statute of limitations and

therefore is not actionable or relevant. See, e.g., Babin v. Plaquemines Par., No. 18-7378-WBV-


1
        DFA reserves the right to file additional motions in limine after this date, given that
plaintiffs have not yet identified the plaintiffs who will participate in the first trial pursuant to this
Court’s May 1, 2020 Order (ECF No. 191).
2
        This assumes the applicability of tolling consistent with American Pipe & Construction
Co. v. Utah, 414 U.S. 538 (1974).
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DMD, 2019 U.S. Dist. LEXIS 184884, at *8-9 (E.D. La. Oct. 25, 2019) (precluding party from

presenting evidence related to events that occurred outside the statute of limitations on relevancy

grounds); Chavez v. Arancedo, No. 17-20003-Civ, 2018 U.S. Dist. LEXIS 163383, at *8 (S.D. Fla.

Sep. 24, 2018) (“[W]e are unpersuaded that evidence outside of the applicable statute of limitations

is relevant to the facts of this case at trial.”). The litany of factual assertions of conduct from the

1990s and early 2000s (15-20 years ago) contained in plaintiffs’ complaint is not relevant to

plaintiffs’ current claims; if plaintiffs wanted to challenge those events and viewed them as

evidence showing violations of law, they would have needed to file suit well before 2009.

       The details of transactions and events that led to DFA being in the market position it held

in October 2005 are not necessary or relevant to the analysis of DFA’s post-October 2005 conduct

and its impact on the relevant market. Evidence about those events is not probative of any fact at

issue in the case, as only events that occurred in October 2005 and later are at issue.3 Accordingly,

such evidence should be excluded as irrelevant.

II.    EVEN IF PRE-OCTOBER 2005 EVIDENCE WERE RELEVANT, ITS
       PROBATIVE VALUE WOULD BE OUTWEIGHED BY THE DANGERS OF
       CONFUSING OR MISLEADING THE JURY AND CAUSING UNDUE
       PREJUDICE TO DFA

       Even if the Court determines that some or all evidence of activities, events, and

communications that occurred before October 2005 is relevant, such evidence is of limited

probative value, and that value is outweighed by the very real danger that such evidence might

confuse or mislead the jury, unduly prejudicing DFA. See Babin v. Plaquemines Par., 2019 U.S.

Dist. LEXIS 184884, at *9 (explaining it “is likely to cause jury confusion if jurors consider

evidence of events that fall outside the applicable statute of limitations in determining whether



3
        Unlike the plaintiffs in Allen v. DFA, No. 5:09-cv-00230 (D. Vt.), plaintiffs here do not
seek to recover damages for any time period prior to 2005.


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Defendant violated” the law). This risk is particularly high here where the probative value of such

evidence will be limited due to the passage of 15 years or more, making it less likely that witnesses

who could provide context or explanation for such evidence would both be available and have

reliable memories of the surrounding circumstances.

       Courts consistently emphasize that the policies animating statutes of limitations include

“avoidance of litigation involving lost evidence or distorted testimony of witnesses.” Carey v.

IBEW Local 363 Pension Plan, 201 F.3d 44, 47 (2d Cir. 1999). If plaintiffs introduce evidence

related to events and conduct that took place more than 15 years ago, DFA’s hands would be tied

regarding the presentation of rebuttal evidence, as many DFA employees and executives from that

timeframe have since retired, changed jobs, or in some instances, passed away. Even employees

and others who are still accessible as witnesses are unlikely to remember the details surrounding

specific conversations or transactions that took place 15 or more years ago—memories have likely

faded, recollections have become less reliable, and the market facts that may have justified such

actions at the time will be much less apparent.

       Because pre-October 2005 evidence may not be subject to challenge due to the passage of

time, it is of limited probative value. The risks that the jury might be confused or misled by

evidence regarding events that occurred outside the statute of limitations is high, as the jury is

likely to assume that any evidence of transactions or other events presented to them is an allegedly

unlawful act being challenged by plaintiffs. Moreover, because of DFA’s potential inability to

present rebuttal testimony, the presentation of such evidence would be unfairly prejudicial to DFA.

The Court should conclude that the risks of confusion, misleading the jury, and unfair prejudice to

DFA outweigh the limited probative value of evidence of conduct from fifteen or more years ago,

and the Court should preclude plaintiffs from introducing such evidence.




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                                        CONCLUSION

       For the foregoing reasons, DFA respectfully requests an order in limine precluding all

evidence of, and argument regarding, activities, events, and communications that occurred prior

to October 2005. DFA also respectfully requests that the Court schedule a hearing on this motion.



Dated: May 20, 2020                             Respectfully submitted,

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                     LOCAL RULE 7(A)(7) CERTIFICATION OF COUNSEL

       Pursuant to Local Rule 7(a)(7), the undersigned counsel for DFA certifies that DFA made

a good faith attempt to obtain plaintiffs’ agreement to the requested relief in this motion, but was

not able to do so.

Dated: May 20, 2020                                /s/ Alfred C. Pfeiffer Jr.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2020, I electronically filed with the Clerk of Court the

foregoing document using the CM/ECF system. The CM/ECF system will provide service of such

filing via Notice of Electronic Filing (NEF) to the following NEF parties:

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